Case 3:98-cr-30044fll7|`7AP Document 208 Filed 01/20/06"“ Page 1 of 1

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UNITEI) STA'I`ES DISTRICT CQ`{£RT;E~EDF
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DEFENDANT’S MOTIQN TD DISMISS THE GOVERNMENT’S NOT[CE QF
INTENT TO SEEK THE I)EA'I`H PENALTY

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Now comes the defendant in the above captioned matter and states that the death

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penalty scheme as codified in 13 U.S.C. 359| et_ seq_ is unconstitutional on its face and as

applied to the defendant in this case for the following reasons;

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lit U.S,C, 3591 et seq_ violates Aiticle l, Section l of the United States Constitution in

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that it permits aggravating factors to be defined the by the prosecution which is an

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unlawtiil delegation cfa legislative function by Congress to the Departntent of Justice;

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18 U_S.C. 3591 et seq. impermissibly authorizes the weighing of non-statutory

aggravating factors in determining whether a sentence of death is to be imposed, in

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violation of the defendant’s Fifth Amendment right to Due Process of Law and her

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Eighth Amendment right to be free from cruel and unusual punishments;

18 U.S.C. 3591 et seq. impermissibly authorizes the Department of Justice of define

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non-statutory aggravating circumstances after the commission of the crimes charged in

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this indictment but before trial, in violation of the defendant’s rights to be fi‘ee fi‘om

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prosecution under an ex post facto ltnv, as guaranteed by Article I, Section 9 of the

United States Constitution;

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